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                                                                                      DEC 22 2021
                                                                                       ANGELA E. NOBLE
 1                              IN THE UNITED STATES DISTRICT cou T    CLERK U.S. DIST. CT.
                                    SOUTHERN DISTRICT OF FLORIDA _ _s_
                                                                     . o_
                                                                        . o_F_FLA_._. _FT._P_IER_c_E_ _
 2                                          FORT PIERCE
 3

 4   BETTY R. SYLVESTRE                                    ORIGINAL VERIFIED COMPLAINT
     55 FREEDOM DRIVE                                      :FOR DAMAGES, STATUTORY,
 5   VERO BEACH, FLORIDA 32966-8772                       .PUNfflVE, ACTUAL, FEES AND
                                                           :EXPENSES, COSTS, AND OTHER
 6                                                         RELATED RELIEF

 7               fLAINTIFF /PRO SE                         .JURY TRIAL DEMANDED
                                                           ·12 ,JURORS
 8                         v.
 9

10   PRO CUSTOM SOLAR, LLC.,                               :cIVIL CASE NO:
     d/b/a/ MOMENTUM SOLAR
11   3096 HAMILTON BLVD
     SOUTH PLAINFIELD, NJ 07080-1201                       Honorable Judge
12

13

14             DEFENDANTS/RESP0NDANTS

15

16

17

18

19

20

21
     COMES NOW, the Plaintiff Betty R. Sylvestre complaining of the Defendant(s) and as follows;

22
     I.                               ORIGINAL VERIFIED COMPLAINT
23
                                              NATURE OF ACTION
24
          1. Plaintiff, Betty R. Sylvestre, individually, hereby sues Defendant(s) Pro Custom Solar, LLC.,
25

26   et al., d/b/a/ ("Momentum Solar") for violations of The Telephone Consumer Protection Act

27   ("TCPA") 47 U.S.C. § 227(c)(5).
28
                                       ORIGINAL VERIFIED COMPLAINT
                                                    1
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 1   II.                                       INTRODUCTION

 2         2. This is an action for damages and injunctive relief brought by Plaintiff Betty R. Sylvestre
 3
     against Defendant(s) Pro Custom Solar, LLC., et al., d/b/a/ ("Momentum Solar") for violations of
 4
     the Telephone Consumer Protection Act ("TCPA") 47 U.S.C. § 227(c)(5).
 5
           3. Upon belief and information, Plaintiff contends that many of these practices are widespread
 6

 7   for the Defendant(s). Plaintiff Betty R. Sylvestre intends to propound discovery to Defendant(s)

 8   Pro Custom Solar, LLC., et al., d/b/a/ ("Momentum Solar") identifying all telephone numbers
 9
     used / number of times called in placing or making telephone calls to consumers like Plaintiff
10
     Betty R. Sylvestre cellular telephone in direct violation of ("TCPA") 47 U.S.C. § 227( c)(5),
11
     ("FTC") National Do Not Call Registry.
12
13         4. Plaintiff contends that the Defendant(s) have violated such laws by repeatedly harassing

14   Plaintiff by calling his wireless telephone number ending in 9940 which is registe1·ed on the
15   ("FTC") National Do Not Call Registry since 9940 on July 31, 2004. Anyone whose numbers are
16
     registered on the ("DNC") list that has received one to two telemarketing calls within a twelve-
17
     month period can sue for all calls including the first. It does not matter if calls are live, pre-
18
19   recorded or robo calls. The ("DNC") provision is a powerful section of the ("TCPA") because it

20   prohibits calls to both cell phone and residential lines, which are registered on the federal or
21   company specific do-not call lists. It is not necessary to prove the telemarketer used an ("ATDS")
22
     or used artificial or pre-recorded voice messages. Live caHs to numbers registered on the ("DNC")
23
     are prohibited.
24
25   III.                               JURISDICTION AND VENUE

26         5. Jurisdiction of this Court arises under Telephone Consumer Protection Act, ("TCPA")
27   47 U.S.C. §227(3)(C) et seq. Federal Question Jurisdiction 28 U.S.C. § 1331. Supplemental
28
                                        ORIGINAL VERIFIED COMPLAINT
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 1   jurisdiction exists for the state law claims pursuant to 28 U.S.C. § 1367. See Mims v. Arrow Fin.

 2   Servs., LLC, 132 S. Ct. 740, 745 (2012).
 3
          6. Venue is proper pursuant to 28 U.S.C. §1391(b)(2). (b)Venue in General. -A civil action
 4
     may be brought in- (2) a judicial district in which a substantial part of the events or omissions
 5
     giving rise to the claim occurred, or a substantial part of property that is the subject of the action is
 6

 7   situated.

 8   IV.                                          PARTIES
 9
          7. Plaintiff, Betty R. Sylvestre, is a natural person and is a resident Vero Beach, State of
10
     Florida in the United States of America.
11
           8. Upon information and belief Defendant(s) located at: 3096 Hamilton Blvd South Plainfield,
12

13   Nj 07080-1201. Upon information and beliefDefendant(s) Pro Custom Solar, LLC., et al., d/b/a/

14   ("Momentum Solar") is one of the leading residential solar contractors in the United States.
15   Recognized by lnc. 500 as one of the fastest-growing private companies, Momentum Solar
16
     employs over 2,000 people nationwide. We operate in New Jersey, New York, California, Florida,
17
     Texas, Connecticut, Pennsylvania, Arizona, Nevada, and Massachusetts. Momentum Solar is an
18

19   owner-operated business committed to providing savings for customers while helping the

20   environment by providing clean, affordable electricity.

21
     v.                              LEGAL BASIS FOR THE CLAIMS
22
23        9. The Federal Communications Commission plays a crucial role in helping consumers stop

24   unwanted calls and text messages. Under the Telephone Consumer Protection Act, the FCC

25   provides clarity on the law, sets rnles, takes enforcement actions, and provides resources for
26
     consumers. Do-Not-Call Requests
27

28
                                       ORIGINAL VERIFIED COMPLAINT
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 1     10. To make these calls legally, a company must have the requisite level of prior express consent

 2   from the called party, namely:
 3
     Express written consent for calls or texts that are made for a marketing or sales purpose (47 C.F.R.
 4
     § 64.1200(a)(2)).
 5
     Express oral or written consent for non telemarketing calls or text messages (4 7 C .F .R. §
 6

 7   64.1200(a)(l )(iii)).

 8     11. National Do-Not-Call Registry
 9
     In 2003, the FCC helped establish the ("NDNCR") in coordination with the Federal Trade
10
     Commission. If residential telephone subscribers place their phone numbers on the ("NDNCR")
11
     (which can be done by phone or online at donotcall.gov), telemarketers may not call them unless
12

13   either: There is an EBR with the consumer. The consumer has given express written consent.

14   (47 U.S.C. §§ 227(c) and 64.1200(c)(2), (f)(14).)
15
       12. "See Attached Hxhibit D, DJ     (FCC) Federal Communications Commission (FTC) Federal
16
     Trade Commission,), National Do Not Call Registry, National Do Not Call Registry FAQs
17
     Congress enacted the ("TCP A") in 1991 to address celiain practices thought to be an invasion of
18
19   consumer privacy and a risk to public safety. The ("TCPA") and the Federal Communications

20   Commission's ("FCC") implemented rnles to prohibit: (1) making telemarketing calls using an

21   artificial or prerecorded voice to residential telephones without prior express consent; and (2)
22
     making any non-emergency call using an automatic telephone dialing system ("AIDS") or an
23
     aliificial or prerecorded voice to a wireless telephone number without prior express consent.
24

25     13. If the call includes or introduces an advertisement, or constitutes telemarketing, consent must

26   be in writing. Calls that include non-marketing messages require consent, but not written consent.

27   The ("TCPA") grants consumers a private right of action, with a provision for ($500) or the actual
28
                                      ORIGINAL VERIFIED COMPLAINT
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 1   monetary loss in damages for each violation, whichever is greater, and treble damages ($1500) for

 2   each willful or knowing violation, as well as injunctive relief.
 3
       14. What's the penalty for companies that illegally call numbers on the Registty?
 4
     Companies that illegally call numbers on the National Do Not Call Registry or place an illegal
 5
     robocall can currently be fined up to $43,792 per call.
 6

 7     15. Prior express written consent means "an agreement, in writing, bearing the signature of the

 8   person called that clearly authorizes the seller to deliver or cause to be delivered to the person
 9
     called advertisements or telemarketing messages using an automatic telephone dialing system or
10
     an artificial or prerecorded voice, and the telephone number to which the signatory authorizes such
11
     advertisements or telemarketing messages to be delivered. 47 C.F.R. § 64.1200(t)(8).
12

13     16. What do businesses and sellers need to know?

14   Generally speaking, telemarketers who sell goods and services must download the Registiy and
15   remove numbers listed on the Registry from their calling lists. Businesses and organizations must
16
     register with the FTC before they are allowed to access the Registiy. It's illegal for anyone to use
17
     the Registry for any purpose other than preventing telemarketing calls to the telephone numbers on
18

19   the Registly. Read the FTC's Q&A for telemarketers and sellers.

20     17. Furthermore, the ("TCPA") established the National Do-Not-Call List and also mandates all

21   businesses that place calls for marketing purposes maintain an "internal" do-not-call list
22
     r'IDNC"). See 47 C.F.R. § 64.1200(d). The ("IDNC") is "a iist of persons who request not to
23
     receive telemarketing calls made by or on behalf of that [seller]." Id. The ("TCPA") prohibits a
24

25   company from calling individuals on its ("IDNC") list or on the ("IDNC") list of a seller on whose

26   behalf the telemarketer calls, even if those individuals' phone numbers are not on the National Do-

27   Not-Call Registry. Id. At§ 64.1200(d)(3),(6). Any company or someone on the company's behalf,
28
                                      ORIGINAL VERIFIED COMPLAINT
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 1   who calls a member of the company ("IDNC") is liable to that person under the ("TCPA"). The

 2   called party is then entitled to bring a private action under the ("TCPA") for monetary and
 3
     injunctive relief.
 4
       18. Enforcement
 5
     On the Federal and State levels, the (''TCPA") is enforced by:
 6

 7   The FCC, which may take administrative action, including imposing civil forfeiture penalties (see

 8   47 U.S.C. § 227(e)(5)).
 9
     State Attorneys General or other State officials or agencies, which may bring a civil lawsuit in
10
     federal court for injunctive relief and damages in the amount of $500 for each violation, which
11
     may be trebled if the court finds that the defendant acted willfully or knowingly (4 7 U.S. C. §
12

13   227(g)(l), (2)). In addition to regulatory and public enforcement, the TCPA provides a private

14   right of action, and federal and state courts share concurrent jurisdiction over claims arising under
15
     the TCPA (47 U.S.C. § 227(b)(3); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 752-53
16
     (2012)).
17
       19. A private litigant may seek the following under the TCP A: Injunctive relief. Actual
18

19   monetary loss or $500 in statut01y damages for each violation, whichever is greater. Up to three

20   times the actual monetary loss or $1,500 in damages for each willful violation, whichever is

21   greater.
22
     VI.                               FACTUAL ALLEGATIONS
23
       20. Defendant(s) Pro Custom Solar, LLC., et al., d/b/a/ ("Momentum Solar") violated the
24

25   ("TCPA") by calling Plaintiff(s) Betty R. Sylvestre wireless telephone used for both personal and

26   residential (786-XXX-9940), fifty-five (55) times from various telephone numbers with the caller

27   stated as ("Momentum Solar") "See Attached - Exhibit - B, Screens hots of Cellular Telephone Call
28
                                     ORIGINAL VERIFIED COMPLAINT
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 1   Records· from Defendant(s) Pro Custom Solar, LLC., et al., d/b/a/ (''Momentum Solar") See

 2   Attached-Exhibit- C_ Cellular Telephone Call Records· Dates/Times of calls from Defendant(s).
 3
     Defendant(s) Pro Custom Solar, LLC., et al., d/b/a/ ("Momentum Solar") has demonstrated willful
 4
     or knowing noncompliance with 47 U.S.C. § 227(c)(5) by calling Plaintiff(s) Betty R. Sylvestre
 5
     wireless telephone used for both personal and residential number (786-XXX-9940), fifty-five (55)
 6

 7   times which is registered on the National Do Not Call Registry ("DNC") since July 31, 2004.

 8     21. Plaintiff number, which is assigned to a cellular telephone service and is charged for monthly
 9
     telephone usage and other communication services. These calls caused emotional damage, extra
10
     electticity usage, extra battery usage and were a direct invasion of privacy to Plaintiff Betty R.
11
     Sylvestre. The Defendant(s) actions caused lost time, aggravation, nuisance, invasion of privacy
12

13   that directly accompanies the receipt of unsolicited and harassing cellular telephone calls and

14   continued distress.
15     22. Pro Custom Solar, LLC., et al., d/b/a/ ("Momentum Solar") not under any conditions were
16
     ever permitted by text, email or express written consent for any advertisements or promotional
17
     offers. Plaintiff demands strict proof to the contrary of any false and deceptive narrative to date in
18

19   which the Defendant has not proffered any material proof. Again, Pro Custom Solar, LLC., et al.,

20   d/b/a/ ("Momentum Solar") never scrubbed Plaintiff wireless telephone against the National Do-

21   Not-Call List or Registry before placing unwanted telephone telemarketing calls.
22
       23. To make these calls legally, a company must have the requisite level of prior express consent
23
     from the called party, namely:
24

25   Express written consent for calls or texts that are made for a marketing or sales purpose (4 7 C.F.R.

26   § 64.1200(a)(2)).

27

28
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 1   Express oral or written consent for non telemarketing calls or text messages (47 C.F.R. §

 2   64.1200(a)(l )(iii)).
 3
     • Use of a version of the national "Do-Not Call" registry obtained no more than three months prior
 4
     to the date any call is made (with records to document compliance).
 5
     • All telemarketers must transmit caller ID information, when available, and must refrain from
 6

 7   blocking any such transmission(s) to the consumer. [47 CFR 64.1601(e)]

 8   • Process used to access the national do-not-call database; [47 CFR 64.1200(c)(2)(i)(D)]
 9
     • Process to ensure that it does not sell, rent, lease, purchase, or use the do-not-call database in any
10
     manner except in compliance with regulations. [47CFR 64.1200(c)(2)(i)]
11
     • All prerecorded messages, whether delivered by automated dialing equipment or not, must
12

13   identify the name of the entity responsible for initiating the call, along with the telephone number

14   of that entity that can be used during normal business hours to ask not to be called again.
15
     l47 CFR 64.1200(b)J
16
       24. Defendant(s) calls constituted calls that were not for emergency purposes as defined by 47
17
     U.S.C. § 227(b)(l(A)(i). Congress enacted the ("TCPA") to prevent real harm. Congress found
18

19   that "automated or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the

20   type of call" and decided that "banning" such calls made without consent was "the only effective

21   means of protecting telephone consumers from this nuisance and privacy invasion. Defendant(s)
22
     phone calls harmed Plaintiff by causing the very harm that Congress sought to prevent-a
23
     "nuisance and invasion of privacy." Defendant(s) phone calls harmed Plaintiff by trespassing upon
24

25   and interfering with Plaintiff rights and interests in Plaintiff cellular telephone. Defendant(s)

26   phone calls harmed Plaintiff by intruding upon Plaintiff seclusion. Defendant(s) harassed Plaintiff

27

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 1   by incessantly calling Plaintiff telephone. Defendant(s) phone calls harmed Plaintiff by depleting

 2   the battery life on Plaintiff cellular telephone number used for both personal and residential.
 3
       25. "See Attached-Exhibit A - The email confirmation sent from the (FTC) Federal Trade
 4
     Commission Ver[fy@donotcall.gov to Plaint(ff(s) Betty R. Sylvestre con.firming cellular telephone
 5
     registry on the (FTC)(FCC)) National Do Not Call Registry on a number ending in 9940 on
 6

 7   July 31, 2004." "See Attached- Exhibit B, - Screens hots of Cellular Telephone Call Records·fiwn

 8   Defendant(5) Pro Custom Solar, LLC., et al., d/b/a/ ("Momentum Solar") See Attached - Exhibit -
 9
     C_ Cellular Telephone Call Records· Dates/Times of calls from Defendant(s) Pro Custom Solar,
10
     LLC., et al., d/b/a/ ("Momentum Solar"). "See Attached - Exhibit D_DJ FTC National Do Not
11
     Call Registry FAQs _FCC_Consumer Information.
12

13     26. Telemarketing Calls to the "Do-Not-Call" ... ("DNC") Numbers Prohibited- 47 USC

14   227(c)(5). This section only applies to telephone solicitation calls. Anyone whose numbers are
15
     registered on the ("DNC") list that has received two telemarketing calls within a twelve-month
16
     period can sue for all calls including the first. It does not matter if calls are live, pre-recorded or
17
     robo calls. The ("DNC") provision is a powerful section of the ("TCPA") because it prohibits calls
18
19   to both cell phone and residential lines, which are registered on the federal or company specific

20   do-not call lists. It is not necessa1y to prove the telemarketer used an ("ATDS") or used artificial

21   or pre-recorded voice messages. Live calls to numbers registered on the ("DNC") are prohibited.
22
     The best part about ("DNC") violations from the consumer perspective is that the Sixth Circuit
23
     Court of Appeals has held that damages under this section may be stacked on top of the ("TCP A")
24

25   227(b) section covering "calls to cell phones." This means that the consumer can get up to

26   $3000.00 per call for violations of the cell phone prohibitions and the ("DNC") provisions.

27   Charvat v. NMP, LLC, 656 F. 3d 440 (6th Cir. 2011).
28
                                       ORIGINAL VERIFIED COMPLAINT
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 1    27. ("TCPA") Damages: According to the ("TCPA"), as codified in 47 U.S.C. § 227, an

 2   individual or entity has a private right of action to bring an action based on a violation of a
 3
     subsection of the Act. (47 U.S.C. § 227(b)(3) (calls to a cell phone/ wireless telephone). An
 4
     individual or entity may bring an action to enjoin such violations, for monetary loss for such
 5
     violations, for $500.00 for each such violation, whichever is greater, or for both injunction and
 6

 7   damages. If the court finds that the defendant willfully or knowingly violated the regulations under

 8   the ("TCPA"), the court may, in its discretion, increase the amount of the award to an amount
 9
     equal to not more than 3 times the amount of the statutory compensatory damages above.
10
      28. The body of case law addressing the available damages for a Plaintiff(s) suing under a
11
     ("TCPA") private right of action reflects the general rule that where the court finds that the
12

13   defendant caller has violated a subsection of the Act, it will at least award to the Plaintiff( s) $500

14   per violation as required by the Act. Purthermore, when the facts of the specific case rise to the
15   level of showing a knowing or willful violation of the Act, the court will, in its discretion and
16
     within its jurisdiction, also award exemplary or treble damages that may be as much as three times
17
     the damages award. In determining willfulness, the court looks at whether the defendant's actions
18

19   show its knowledge of the facts that constitute the offense (knowing); at the prior interactions

20   between the Plaintiff(s) and the Defendant; and at whether the defendant attempted to stall, evade

21   or avoid its obligations under the ("TCP A").
22
      29. Willful and Knowing: Treble Damages One of the best arguments for trebling damages is the
23
     standard set forth in 47 U.S.C. § 312 F, Administrative sanctions, which is part of the same section
24

25   of the United States Code that the ("TCPA") falls under.

26   (f) "Willful" and "repeated" defined for purposes of this section:

27

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 1   (1) The te1m "willful", when used with reference to the commission or omission of any act, means

 2   the conscious and deliberate commission or omission of such act, irrespective of any intent to
 3
     violate any provision of this chapter or any rule or regulation of the Commission authorized by
 4
     this chapter or by a treaty ratified by the United States.
 5
     (2) The te1m "repeated", when used with reference to the commission or omission of any act,
 6

 7   means the commission or omission of such act more than once or, if such commission or omission

 8   is continuous, for more than one day.
 9
       30. Courts may treble the damages award if the court finds that Defendant's violations were
10
     committed "willfully or knowingly." 47 U.S.C. § 227(b)(3). Although neither the ("TCPA") nor
11
     the ("FCC") regulations define the terms "willfully or knowingly", courts have generally
12

13   interpreted willfulness to imply only that an action was intentional. Smith v. Wade, 461 U.S. 30,

14   41 n.8 (1983). While the ("TCPA") does not define willful, the Communications Act of 1943, of
15   which the ("TCPA") is a part, defines willful as "the conscious or deliberate commission or
16
     omission of such act, irrespective of any intent to violate any provision, rule or regulation." In
17
     Dubsky v. Advanced Cellular Communications, Inc., No. 2008 cv 00652, 2004 WL 503757, at* 2
18

19   (Ohio Com. Pl. Feb. 24, 2004), the comi found that in the context of the ("TCPA"), the term

20   acting "willfully" means that "the defendant acted voluntarily, and under its own free will,

21   regardless of whether the defendm1t lrnew that it was acting in violation of the statute." 47 U.S.C.§
22
     227(b)(3).
23
       31. Calling a consumer who has asked not to be called potentially exposes a seller and
24

25   telemarketer to a civil penalty of $43,280 per illegal call, per violation. Violators will be suNect to

26   civil penalties of up to of $43,280 per illegal call, per violation as well as injunctive remedies.

27   16 CF.R. § J.98(d). And, because violations o.fthe Telemarketing Sales Rule ("TSR"), are also
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  1   violations of the Section 5 of the FTC Act, 15 U.S.C. § 45, the FTC can seek preliminary and

  2   permanent injunctive relief, 15 U.S. C. § 53(b), as well as refimds· and damages, 15 U.S. C. §
  3
      57b(b), to address violations of the Telemarketing Sales Rule ("TSR ").
 4
      VII.                         COUNT I
  5                 THE TELEPHONE CONSUMER PROTECTION ACT
                           VIOLATIONS OF 47 U.S.C.§227(c)(5)
  6
             FOR CALLS PLACED TO NUMBERS LISTED ON IBE DO NOT CALL REGISTRY
  7
         32. Plaintiff alleges and incorporates the info1mation in paragraphs I through 32.
  8
         33. Defendant(s) has demonstrated willful or knowing non-compliance with 47 U.S.C. §
  9

 10   227(c)(5) by calling Plaintiff Betty R. Sylvestre wireless telephone number (786-XXX-9940) that

 11   has been placed on the National Do Not Call Registry (DNC) since July 31, 2004. Plaintiff
 12
      number, which is assigned to a cellular telephone service. Plaintiff Betty R. Sylvestre has never
 13
      consented in writing to receive telephone calls from the Defendant(s) Pro Custom Solar, LLC., et
14
      al., d/b/a/ ("Momentum Solar''). The ("DNC") provision is a powerful section of the ("TCPA")
 15
16    because it prohibits calls to both cell phone and residential lines, which are registered on the

 17   Federal or company specific Do-Not Call lists. It is not necessary to prove the telemarketer used

 18   an ("ATDS") or used artificial or pre-recorded voice messages. Live calls to numbers registered
19
      on the ("DNC") are prohibited.
20
        34. Consent or permission must be evidenced by a registrant's signed, written agreement to be
21

22    contacted by the telemarketer. Id. § 64.1200(c)(2)(ii). The written agreement must also include the

23    telephone number to which the calls may be placed. Id.

24      35. A person whose number is on the Registry and has received more than one telephone
25
      solicitation within any twelve-month period by or on behalf of the same entity in violation of the
26
      ("TCPA") can sue the violator and seek the same statutory damages available under§ 227(b)- the
27

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 1   greater of actual damages or $500, a figure that may be trebled for willful or knowing violations.

 2   47 U.S.C. § 227(c)(5).
 3
      36. Each Defendant(s) violated 47 U.S.C. § 227(c) by sending, either directly or through the
 4
     actions of others, telephone solicitation calls to telephone numbers listed on the National Do Not
 5
     Call Registry. The ("TCPA") imposes liability on entities that do not directly place illegal calls. It
 6

 7   has long been the law that a seller of goods or services can be liable for ("TCPA") violations even

 8   if the seller does not directly place or initiate the calls. As explained by the ("FCC"), the
 9
     ("TCPA") and its regulations "generally establish that the party on whose behalf a solicitation is
10
     made bears ultimate responsibility for any violations."
11
       37. Violation of§ 227(c) for calls placed to numbers listed on the ("FCC") - National Do Not
12

13   Call Registry, each Defendant(s) violated 47 U.S.C. § 227(c) by sending, either directly or through

14   the actions of others, telephone solicitation calls to telephone numbers listed on the ("FTC")
15   ("FCC") - National Do Not Call Registry.
16
       38. Defendant(s) has committed "numerous" or "20" separate violations of 47 U.S.C. § 227(c)
17
     and Plaintiff(s) is entitled to damages of $500 per violation pursuant to 47 U.S.C. § 227(b) - the
18

19   greater of actual damages or $500, a figure that may be trebled for willful or knowing violations

20   up to $1500 47 U.S.C. § 227(c)(5). The acts and practices alleged in Paragraphs 1-38 constitute
21   willful or knowing violations of section 47 U.S.C. § 227(c)(5).
22
       39. The frequency of these unauthorized wireless telephone calls have facial plausibility that
23
     Plaintiff Betty R. Sylvestre has plead as factual content that will allow the court to draw the
24

25   reasonable inference that the Defendant(s) Pro Custom Solar, LLC., et al., d/b/a/ ("Momentum

26   Solar") is liable for their illegal I unlawful behavior and conduct. Assuming the truth of Plaintiff

27

28
                                      ORIGINAL VERIFIED COMPLAINT
                                                   13
Case 2:21-cv-14495-AMC Document 1 Entered on FLSD Docket 12/22/2021 Page 14 of 18




 1   factual allegations, the Court will find all claims to be facially plausible.

 2   IV.                               PRAYER FOR RELIEF
 3
       40. WHEREFORE, Plaintiff Betty R. Sylvestre demands judgment for monetary damages
 4
     against the Defendant(s) Pro Custom Solar, LLC., et al., d/b/a/ ("Momentum Solar") for eighty-
 5
     three thousand dollars for actual or statutory damages, punitive damages, attorney's fees and costs
 6

 7   and further relief as the Court deems just and proper.

 8   X.                            DEMAND FOR JURY TRIAL
 9
       41. Plaintiff hereby demands a trial by jury of all issues so triable as a matter of law.
10
     Respectfully submitted this 16th day of December 2021.
11
     XI.              VERIFICATION OF COMPLAINT AND CERTIFICATION
12
                      (SOUTHERN DISTRICT OF FLORIDA) (FORT PIERCE)
13

14   Plaintiff, Betty R. Sylvestre, states as follows:

15   I am the Plaintiff in this Federal Civil proceeding.

16   I believe that this Original Verified Complaint is well grounded in fact and warranted by
17
     existing law or by a good faith argument for the extension, modification or reversal of existing
18
     law. I believe that this Original Verified Complaint is not interposed for any improper purpose,
19
     such as to harass any Defendant(s) cause unnecessary delay to any Defendant(s) or create a
20

21   needless increase in the cost of litigation to any Defendant(s), named in the Original Verified

22   Complaint. Thave filed this Original Verified Complaint in good faith and solely for the purposes
23
     set forth in it. Each and every exhibit I have provided which has been attached to this Original
24
     Verified Complaint is a true and correct copy of the original.
25
     Except for clearly indicated redactions made by my Plaintiff Betty R. Sylvestre where
26

27   appropriate, I have not altered, changed, modified, or fabricated these exhibits.

28   Pursuant to 28 U.S.C. § 1746(2), Betty R. Sylvestre, hereby declare (or certify, verify or state)
                                       ORIGINAL VERIFIED COMPLAINT
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Case 2:21-cv-14495-AMC Document 1 Entered on FLSD Docket 12/22/2021 Page 15 of 18




 I   under penalty of pe1jury that under the laws of the United States of America that the

 2   foregoing is true and con-ect. Executed on December 16111, 2021.
 3

 4

 5                                                                         Betty Reneeylvestre
                         11
 6   Date: December 16 1, 2021                                          Plaintiff, In Propria Persona
                                                                        ALL RIGHTS RESERVED
 7   BETTY R. SYLVESTRE
     55 FREEDOM DRIVE
 8   VERO BEACH, FLORIDA 32966-8772
 9
     XII.                           CERTIFICATE OF SERVICE
10
     I hereby certify that on this 16th day of December 2021, I filed the foregoing overnight mailed by
11
     (USPS) United States Postal Service or (UPS) United Parcel Service delivered to
12

13   The Southern District of Florida, Clerk of Court, the CM/ECF System which will then send a

14   notification of such filing. I further state under oath that I caused the forgoing, to be served on the
15
     parties listed below by service of process, United States Marshall Service, United States Postal
16
     Services, Fed Ex, United Parcel Service, Certified Mail or Priority Mail, postage prepaid as a
17
     courtesy, on the following: I further state under oath that I caused the forgoing, to be served on the
18

19   parties listed below by United States Postal Service postage prepaid as a courtesy, on the

20   following:
21
     I certify that a copy of the Original Verified Complaint will be served upon the Defendant(s)
22
     registered agent, below in compliance with .FRCP Rule 4; Pursuant to Local Civil Rules.
23
     PRO CUSTOM SOLAR, LLC.,
24   d/b/a/ MOMENTUM SOLAR
25   3096 HAMILTON BLVD
     SOUTH PLAINFIELD, NJ 07080-1201
26

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                                      ORIGINAL VERIFIED COMPLAINT
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Case 2:21-cv-14495-AMC Document 1 Entered on FLSD Docket 12/22/2021 Page 16 of 18




 1   Defendant PRO CUSTOM SOLAR, LLC.,
     d/b/a/ MOMENTUM SOLAR
 2   represented by;
 3
     Michael J. Marotte Esq.
 4   Thomas J. Cotton Esq.
     SCHENCK, PRICE, SMITH & KING, LLP
 5   220 Park Avenue\ PO Box 991 I Florham Park, NJ 07932
     T: 973-631-7848 C: 201-9 I 9-3608 F: 973-540- 7300
 6
     MJM@Jspsk.com
 7   tjc@spsk.com                         Attorneys for Defendants PRO CUSTQJi,,J SOLAR, LLC.,

 8

 9   BETTY R. SYLVESTRE
     55 FREEDOM DRIVE
IO   VERO BEACH, FLORIDA 32966-8772
11                                           Pla;ntijf

12   Date: December 16111, 2021                                       ctty Rcnccvcstrc
                                                                Plaintiff, In Propria Persona
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